         Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 1 of 13




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


In re:                                               )
                                                     )   Chapter 11
FREE SPEECH SYSTEMS, LLC                             )
                                                     )   Case No. 22-60043
                    Debtor                           )
                                                    )

         DEBTOR’S EMERGENCY APPLICATION FOR ENTRY OF AN ORDER (I)
             AUTHORIZING THE DEBTORS TO RETAIN AND EMPLOY
            O’CONNNORWECHSLER, PLLC AS BANKRUPTCY COUNSEL
                      AND (II) GRANTING RELATED RELIEF
                [Request for Hearing on or be March 11, 2024, at 3:00 p.m.]

                                 Notice Pursuant to Local Rule 9013-1

APPLICANT HAS REQESTED A HEARING ON THIS MATTER BEFORE THE
HONORABLE CHRISTOPHER M. LOPEZ ON MARCH 11, 2024 AT 3:00 P.M. IN THE
UNITED STATES BANKRUPTCY COURTROOM 403, 515 RUSK, HOUSTON, TEXAS
77002. PARTIES ARE AUTHORIZED TO APPEAR IN PERSON OR VIRTUALLY BY VIDEO
AND TELEPHONE. PARTIES SHOULD CONSULT THE COURT’S WEBSITE FOR
INSTRUCTION ON APPEARING IN COURT.

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

Application to Employ Counsel                 -1-
          Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 2 of 13




TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

          Free Speech Systems, LLC (“FSS” or “Debtor”), debtor and debtor in possession, files

this Application for Entry of an Order (I) Authorizing the Debtor to Retain and Employ

O’ConnorWechsler, PLLC as Bankruptcy Counsel effective March 1, 2024 (the “Application”),

and in support thereof Debtor would respectfully show the Court as follows:

                                  SUMMARY OF APPLICATION

          1.       Debtor seeks to retain and employ O’ConnorWechsler, PLLC (“OWPLLC”) as

general bankruptcy counsel and to assist with related litigation. This representation includes all

representation as to any requests for relief from the automatic stay, claim estimation, objections to

claims, dismissal disputes, and other matters relative to the routine activities typical to the Chapter

11 case. Employment of OWPLLC is in the best interests of the Debtor’s estate due to the skill

sets of        its attorneys; i.e., Annie Catmull’s expertise in bankruptcy matters and Kathleen

O’Connor’s litigation skills.

                                          JURISDICTION

          2.       This Court has jurisdiction by virtue of 28 U.S.C. § 1334. This matter is a core

proceeding pursuant to 28 U.S.C. §§ 157(b)(1), (b)(2)(A) and (M).

                                               VENUE

          3.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408(1) and (2) and 11

U.S.C. § 101(2)(A).




                                                   2
         Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 3 of 13




                                         BASIS FOR RELIEF

         4.    The basis for the relief sought are sections 327(a) and 330 of title 11 of the United

States Code (the “Bankruptcy Code”) Rules 2014, 2016, and 6003 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules for the U.S.

Bankruptcy Court for the Southern district of Texas (the “Local Rules”).




                                        BACKGROUND

               A. Overview of the Debtor

         5.    On July 29, 2022 (the “Petition Date”), the Debtor commenced the Chapter 11 Case

by filing a petition for relief under chapter 11, subchapter v, of the bankruptcy Code under the

captioned case number.

         6.    The Debtor continues to operate its business and manage its assets as a debtor and

debtor in possession pursuant to Bankruptcy Code sections 1108(a) and 1108 of the Bankruptcy

Code..

         7.    On August 22, 2022, Melissa A. Haselden was appointed as Subchapter V

Trustee in this case [Docket No. 22].

         8.    Debtor is a Texas limited liability company engaged as a media company. FSS also

operates an online platform for the sale of books, nutritional supplements, coins and collectibles,

long-term stored foods, and assorted t-shirts, bumper stickers and other miscellaneous items. FSS

currently operates in Austin, Texas.

         9.    On September 20, 2022, the Court entered the Order Expanding the Subchapter V

trustee’s Duties Pursuant to 11 U.S.C. § 1183(b)(2) of the Bankruptcy Code [Docket No. 183].




                                                 3
       Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 4 of 13




       10.     The Debtor believes that the assistance of counsel is necessary and appropriate.

Previous bankruptcy counsel, Raymond William Battaglia, has filed a motion seeking withdrawal

as counsel for FSS. [ Docket No. 830].

       11.     The Debtor has filed its Chapter 11 Plan of Reorganization and amendment thereto.

[Docket No. 756]. Currently, confirmation is scheduled for March 25, 2024.



                        ENGAGEMENT OF PROPOSED COUNSEL

       12.     The Debtor proposes to engage OWPLLC to assist the Debtor with general

bankruptcy matters and litigation matters, including matters related to the Sandy Hook Litigation,

and related to the PQPR litigation assigned adversary proceeding no. 23-03127.

       13.     Ms. Catmull attended the S. J. Quinney College of Law at the University of Utah

and graduated in 1995 and the same year the State of Texas licensed her to practice law. Ms.

Catmull is employed (of counsel) by OWPLLC which maintains offices at 4400 Post Oak

Parkway, Suite 2360, Houston, TX 77027. Ms. Catmull has extensive experience in chapter 11

bankruptcy cases, including litigation therein. A copy of Ms. Catmull’s CV is attached hereto as

Exhibit A.

       14.     A copy of the proposed engagement agreement and fee schedule between the

Debtor and OWPLLC is attached hereto as Exhibit B (the “Engagement Agreement”).

       15.     Ms. Catmull will be the person primarily responsible for this engagement.

However, other attorneys at OWLLC, primarily Kathleen O’Connor, likely will provide additional

services.

       16.     Ms. Catmull will charge an hourly rate of $500.00, which is her customary rate.

Other professionals at OWPLLC may provide services to the Debtor. The names and hourly rates

to be charged are as follows:

                                                4
           Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 5 of 13




 Professional                             Title                                 Rate
 Kathleen O’Connor                        Principal                             $450
 Jeri Wechsler                            Of Counsel                            $350
 Paralegal services                       Any OWPLLC attorney                   Between $150 and $250
                                          whose particular services are
                                          properly billed as paralegal,
                                          rather than attorney


           17.       The hourly rates for these professionals are the customary 2024 rates charged by

OWPLLC.

           18.      In connection with this representation, OWPLLC requires a retainer of $75,000.

           19.      Debtor believes that the attorneys at OWPLLC are well qualified to handle the

matters described herein.

           20.      Debtor understands that the services to be provided by OWPLLC will not

unnecessarily overlap and duplicate with the services of other professionals in this case. To prevent

any overlap and duplication, Debtor will coordinate with OWPLLC and other professionals

representing Debtor.

                                                 DISINTERESTEDNESS

           21.      Ms. Catmull and OWPLLC have identified the following connections with other

parties in interest or their counsel:

        Party in Interest or its Connection
        Counsel
        Melissa  Haselden   and Melissa Hasleden is the Subchapter V Trustee in this FSS case.
        HFPLLC
                                 First, between 2010 and 2017, Catmull worked with Ms.
                                 Haselden at Hoover Slovacek LLP’s bankruptcy section then led
                                 by (now retired) Edward Rothberg.

                                             Second, Ms. Haselden was the Subchapter V Trustee in the
                                             bankruptcy case1 of Cypress Creek Emergency Medical Service,
                                             Inc., case no. 21-33733, in which Catmull represents the chapter


11
     All bankruptcy cases mentioned herein are Southern District of TX cases unless otherwise indicted.

                                                           5
  Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 6 of 13




Party in Interest or its Connection
Counsel
                         11 debtor, and the liquidating trustee (J. Patrick Magill, the CRO
                         in the FSS case). This case is largely wound down.

                             Third, Ms. Haselden represents a non-debtor affiliate of the
                             chapter 11 debtor, All Texas Electrical Contractors, Inc., case no.
                             20-34656, wherein Catmull represents the debtor. This case is
                             largely winding down.

                             Fourth, Ms. Haselden and Catmull were co-counsel for the
                             unsecured creditors committee, and now are co-counsel for the
                             liquidating trustee, in the (largely wound down) chapter 11
                             bankruptcy case of John Daugherty Real Estate, case no. 20-
                             31293.

                             Fifth, Catmull and OWPLLC represented Ms. Haselden and
                             HFPLLC in discrete litigation in the chapter 11 bankruptcy case
                             11500 Space Center 21-32299. Post-confirmation, Catmull and
                             OWPLLC also represented the debtor in a contested matter.

                             Sixth, Catmull represented the owner of the chapter 11 debtor
                             known as Midway Oilfield Constructors, case no. 18-34567. Ms.
                             Haselden (and at first, Hoover Slovacek, and later at HFPLLC)
                             represented the debtor.

                             Seventh, Catmull and OWPLLC represent the owner of Burnside
                             Services, Inc., a chapter 7 debtor in bankruptcy case no. 22-
                             31458. Ms. Haselden and HFPLLC represent the debtor.

                             Eighth, Catmull and OWPLLC represented the chapter 11 debtor
                             as co-counsel to Ms. Haselden and HFPLLC in the chapter 11 of
                             United Engineers, bankruptcy case no. 23-33166.

                             Ninth, Catmull and Haselden occasionally consult one another in
                             matters that are not public.

                             Tenth, Catmull considers Ms. Haselden, and her partner, Elysse
                             Farrow, social friends.
J. Patrick Magill            Mr. Magill is the CRO for the debtor, FSS.

                              Mr. Magill, was also the court-appointed CRO in the bankruptcy
                             case of Cypress Creek Emergency Medical Service, Inc., case no.
                             21-33733, in which Catmull represented the chapter 11 debtor.
                             Mr. Magill is now the liquidating trustee in the case.




                                         6
        Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 7 of 13




     Party in Interest or its Connection
     Counsel
     Ha M. Nguyen and Jason B. These individuals are identified as counsel for the U.S. Trustee
     Ruff                      and have appeared in this case. We have appeared in some of the
                               same bankruptcy cases in the last few years.
     Stephen Lemmon            Stephen Lemmon represents PQPR Holdings Ltd in the FSS
                               bankruptcy case.

                                         Ms. Catmull has known, and known of, Stephen Lemmon for at
                                         least 20 years. To her recollection, they have represented parties
                                         in the same cases in a Corpus Christ oil and gas case bankruptcy
                                         case in 2000, the bankruptcy case of Cody Smith, and, more
                                         recently, represented partially aligned parties in 2017 bankruptcy
                                         case of Advantage Energy Joint Venture, and a related
                                         bankruptcy case of the debtor’s principal.

                                         Ms. Catmull and Mr. Lemmon occasionally refer each other
                                         business. And as it happens, they attended the same high school,
                                         though during different years.

     Vianey Garza                        Ms. Garza is counsel for the U.S. Trustee who has not appeared
                                         in this case.

                                         She joined Hoover Slovacek shortly after Catmull departed from
                                         that law firm. Also, in the past, for several years Catmull and
                                         Garza were board members and officers together for the Arthur-
                                         Moller Inn of Court.2 Ms. Catmull considers her a friend.
     Walter Cicack                       Walter Cicack represents Cicack Holdings and Sweetwater
                                         Holdings in this case.

                                         Ms. Catmull worked with Mr. Cicack for aligned parties in the
                                         2015 bankruptcy case of Technicool Systems (and related
                                         litigation) Ms. Catmull and Mr. Cicack represented adverse
                                         parties in the 2017 bankruptcy case of Advantage Energy Joint
                                         Venture, and a related bankruptcy case of the debtor’s principal.

                                         Ms. Catmull and Mr. Cicack sometimes refer each other work.

     Federico Andino Reynal               Mr. Reynal is litigation counsel for Alex Jones and FSS.

                                         Approximately 2015, Ms. Catmull represented the debtor in the
                                         bankruptcy case of Mud King. Mr. Reynal represented partially
                                         aligned parties. Since that time, Ms. Catmull and Mr. Reynal
                                         have occasionally worked together on cases (including the

2
 Ms. Haselden and other bankruptcy attorneys in this case have been and may still be members of the Arthur
Moller Inn of Court, and Ms. Haselden at one time was a board member.

                                                       7
  Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 8 of 13




Party in Interest or its Connection
Counsel
                         Courtland Energy bankruptcy case), and referred each other
                         potential business. Ms. Catmull has also informally assisted Mr.
                         Reynal (and assisted through professional relationships) in
                         connection with a claim of less than $20,000 in a Delaware
                         bankruptcy.

                             In addition, before and after FSS’ bankruptcy filing, Ms. Catmull
                             and Mr. Reynal have had brief conversations about Alex Jones
                             related litigation. In preparing for the application process, it
                             occurred to Ms. Catmull that one call included an out-of-state
                             attorney who Mr. Reynal advised represents Alex Jones. The
                             undersigned does not recall his name but allows that it may have
                             been Norm Pattis.
Shelby Jordan                Shelby Jordan represents Alex Jones.

                             During 1999 through approximately July of 2021, Ms. Catmull
                             was employed by Shelby Jordan’s Corpus Christi law firm,
                             Jordan Hyden Womble. Mr. Jordan is Alex Jones’ counsel.
Ray Battaglia                Ms. Catmull has known or known of, though not well, Mr.
                             Battaglia for at least 20 years. He assisted her with a Western
                             District subpoena project several years ago in a litigation matter.
Kyung Lee                    Kyung Lee and his law firm were the original proposed counsel
                             for FSS. Ms. Catmull has known, and known of, Mr. Lee for at
                             least 20 years. They have been in a few bankruptcy cases
                             together.

                             Ms. Catmull had occasion to interact Mr. Lee (in 2021) during
                             OWPLLC’s representation of W. Marc Schwartz, in his capacity
                             as a receiver appointed by the Judicial District Court of Harris
                             County, TX, including in the bankruptcy cases of Massood
                             Danesh Pajooh, U.S. Capital Investments, and County
                             Investments LP.
W Marc Schwartz              Ms. Catmull represented W. Marc Schwartz, in his capacity as a
                             receiver appointed by the Judicial District Court of Harris
                             County, TX, including in the bankruptcy cases of Massood
                             Danesh Pajooh, U.S. Capital Investments, and County
                             Investments LP.
Mike Ridulfo                 Mike Ridulfo appeared by W. Marc Schwartz in this case.

                             Ms. Catmull has known Mike Ridulfo since approximately 1998
                             back when she was practicing law in Corpus Christi. They have
                             been in many cases together.
Marty Brimmage and the       Marty Brimmage and his law firm represent the committee in a
attorneys in this case       complex case pending before Judge Marvin Isgur, wherein a


                                         8
          Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 9 of 13




     Party in Interest or its        Connection
     Counsel
     employed by Akin Gump           chapter 11 plan has been recently confirmed. OWPLLC is
     Strauss Hauer & Feld LLP        local counsel to the future claimants’ representative in that case.
     Randy Willaims                  Randy Williams represents David Wheeler, et al, that is,
                                     multiple Sandy Hook plaintiffs.

                                     In the past Annie Catmull has represented Randy Williams, in
                                     his capacity as chapter 7 trustee, in a handful of matters.

                                     OWPLLC and Catmull currently represents Randy Williams as
                                     the chapter 7 trustee of Gulfstream Trucking, LLC.




Debtor does not believe that these connections create an adverse relationship with respect to its

estate.

          22.   In compliance with 11 U.S.C. §327(a) and Rule 2014, Ms. Catmull and OWPLLC

have attached the declaration of Annie Catmull (the “Catmull Declaration”) as Exhibit C,

detailing the foregoing connections with the Debtor and other parties in interest. Based upon the

Catmull Declaration and Debtor’s knowledge, Ms. Catmull and OWPLLC do not represent any

interest adverse to Debtor, its estate, creditors, equity holders, or affiliates in the matters upon

which Ms. Catmull and OWPLLC are to be engaged and are a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the

Bankruptcy Code, and as required by § 327(a) of the Bankruptcy Code. Likewise, they are

disinterested persons under §327(e), if applicable.

          23.   Debtor believes that the above-discussed connections are not sufficient to prohibit

employment of Ms. Catmull and OWPLLC as bankruptcy counsel for the Debtor’s estate. Further,

if Ms. Catmull and OWPLLC discover any information not disclosed herein or in the Declaration,

then Ms. Catmull and OWPLLC will file a supplemental disclosure with the Court.

          24.   No previous application for the relief requested herein has been made in this case.

                                                  9
         Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 10 of 13




                                         LEGAL BASIS
         25.   Courts routinely approve the employment of consultants and professionals. See In

re Logix Communications, Case No. 02-32105-H5-11 (Bankr. S.D. Tex.); In re American

Homestar, Case No. 01-80017-G3-11 (Bankr. S.D. Tex.); In re Perry Gas Companies, Inc., 00-

37884-H5-11 (Bankr. S.D. Tex.); In re American Rice, Case No. 98-21254-C-11 (Bankr. S.D.

Tex.).

         26.   Retention of professionals is specifically provided for in the Bankruptcy Code.

“[T]he trustee, with the court’s approval, may employ one or more . . . other professional persons

that do not hold an interest adverse to the estate ....” 11 U.S.C. §327(a). Such professionals must

be “disinterested persons” as that term is defined in the Code.

         27.   Further, section 328(a) provides, in part, that the debtor “…with the court’s

approval, may employ or authorize the employment of a professional person under section . . .

1103 of this title . . . on any reasonable terms and conditions of employment ….” 11 U.S.C. §

328(a). Of course, under section 328(a), the proposed compensation remains reviewable by the

Court “if such terms and conditions prove to have been improvident in light of developments not

capable of being anticipated at the time” this Application is approved. Id.

         28.   As set forth in the Declaration, Ms. Catmull and OWPLLC and its employees are

disinterested persons as contemplated by 11 U.S.C. § 327(a) and §327(e) (if applicable). Any

connections between Debtor and Ms. Catmull and OWPLLC do not create a materially adverse

interest to Debtor’s bankruptcy estate or any class of creditors or security equity holders. These

connections, as such, do not preclude employment of Ms. Catmull and OWPLLC in this matter.

Moreover, OWPLLC’s proficiency in litigation will benefit the Debtor’s estate. Exhibit A hereto

lists a sample of first chair bankruptcy trials handled by Ms. Catmull. Also, OWPLLC’s principal,

Kathleen O’Connor, is a member of the American Board of Trial Advocates, an invitation-only


                                                10
      Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 11 of 13




national association of experienced trial lawyers and judges. She has taken 30 jury trials to verdict

(civil and criminal), over 21 bench trials to verdict (criminal and civil). She has experience

litigating in Bankruptcy Court.

       29.     Additionally, Debtor asserts that the proposed compensation Ms. Catmull and

OWPLLC as set forth above and in the Engagement Agreement is both reasonable and well within

the range of fees and commissions typically paid to litigation counsel in connection with matters

similar to those contemplated in this instance.

       30.     For the foregoing reasons, Debtor asserts that employment of Ms. Catmull and

OWPLLC on such terms and conditions is in the best interest of all parties in interest in these

cases. Therefore, approval of Ms. Catmull and OWPLLC’s compensation under section 328(a) of

the Bankruptcy Code is appropriate.

       31.     Based on the foregoing, Debtor requests approval of the retention of Ms. Catmull

and OWPLLC as counsel for the Debtor.

                                      Reimbursement of Expenses

       32.     Ms. Catmull and OWPLLC informed Debtor that disbursements for expenses are

not included in the Firm’s hourly rates and will be separately billed as expenses of this proposed

engagement. A table demonstrating the expenses is below. Subject to the limitations set forth in

General Order 2001-2, Ms. Catmull and OWPLLC will charge the actual cost of these expenses in

a manner and at rates consistent with charges made to Ms. Catmull and OWPLLC’s other clients.

             Client Expenses                              Hourly Rate
             Deliveries & Couriers                        At Cost
             Travel, Lodging and Meals*                   At Cost (No charge for travel)

             Filing Fees & Misc. Expenses                 At Cost

             Contract professionals                       At Cost




                                                  11
      Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 12 of 13




Expenses will be billed at the rates listed below in accordance with normal and customary billing

practices.

       33.     Based on the foregoing, Debtor submits that the retention of Ms. Catmull and

OWPLLC is in the best interests of the Debtor’s estate.

                           Certificate of Emergency Circumstances

       34.     The Debtor’s current counsel has filed a motion to withdraw set for hearing on

March 11, 2024. Debtor must have counsel to proceed with plan confirmation.



                                                    Prayer

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order authorizing

employment of Ms. Catmull and OWPLLC on the terms set forth herein and in the Engagement

Agreement and grant such other relief as is just.



       DATED: March 5, 2024



                                              Respectfully submitted,

                                              O’CONNORWECHSLER PLLC
                                              By: /s/ Annie Catmull
                                              Annie E. Catmull
                                              State Bar No. 00794932
                                              aecatmull@o-w-law.com
                                              Kathleen A. O’Connor
                                              State Bar. No. 00793468
                                              4400 Post Oak Plaza, Suite 2360
                                              Houston, Texas 77027
                                              Telephone: (281) 814-5977

                                              PROPOSED COUNSEL FOR FREE SPEECH
                                              SOLUTIONS, LLC




                                                12
      Case 22-60043 Document 835 Filed in TXSB on 03/05/24 Page 13 of 13




                                CERTIFICATE OF SERVICE

       I certify that on the March 5, 2024, a copy of the foregoing Debtor’s Application for Entry
of an Order (I) Authorizing the Debtors to Retain and Employ O’ConnorWechsler, PLLC as
Counsel was served to the parties listed below by the Court’s ECF notification system.



                                                    By: /s/ Annie Catmull___
                                                      ANNIE CATMULL




                                               13
